Case 2:25-cv-02716-FLA-JPR                  Document 12             Filed 04/07/25        Page 1 of 2 Page ID
                                                  #:45
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 CHAIM DANIEL WOLMARK, et al.                                       2:25−cv−02716−FLA−JPR
                                                  Plaintiff(s),

          v.
 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY, et al.                                          NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).
                                                                            FILED DOCUMENT




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your filed document:

 Date Filed:         4/5/2025
 Document No.:             11
 Title of Document:             Proof of Service (subsequent documents)
 ERROR(S) WITH DOCUMENT:

 Case number Missing assigned Judge and Magistrate's initials. REFER TO 4/1/2025 REASSIGNMENT
 ORDER. Official case number is to read as : 2:25−cv−02716 FLA (JPRx).

 Incorrect event selected. Correct event to be used is: Service of summons and complaint returned executed (21
 days)

 Due to incorrect event Docket entry is Incomplete/incorrect. No record of complaint being served. The correct
 event will prompt for required information: who, how and when and statute... all of which are Missing




 Other:

 Note: To assist in a search for correct events, please use the "SEARCH" option for a "key word" to narrow the
 selection process
 Note:    In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
          document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in
          response to this notice unless and until the Court directs you to do so.


                                                Clerk, U.S. District Court

 Dated: April 7, 2025                           By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                   Deputy Clerk


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Case 2:25-cv-02716-FLA-JPR                    Document 12        Filed 04/07/25         Page 2 of 2 Page ID
 cc: Assigned District Judge and/or Magistrate Judge #:46

     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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